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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:                                                    Case No. 8:21-bk-04001-MGW
                                                          Chapter 7
Samuel Lloyd Selig,

      Debtor(s).
_____________________________/

                REPORT AND NOTICE OF INTENTION TO SELL
           PROPERTY OF THE ESTATE AND NOTICE OF ABANDONMENT
         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING
If you object to the relief requested in this paper, you must file your response with the
Clerk of the Court at Sam M. Gibbons Courthouse, 801 N. Florida Ave., #555, Tampa,
FL 33602-3899, and serve a copy on the Trustee, Christine L. Herendeen, at P.O. Box
152348, Tampa, FL 33684, and any other appropriate person(s) within 21 days from the
date of the attached proof of service, plus an additional three days if this paper was
served on any party by U.S. mail.
If you file and serve a response within the time permitted, the Court will either notify
you of a hearing date or the Court will consider the response and grant or deny the relief
requested in this paper without a hearing. If you do not file a response within the time
permitted, the Court will consider that you do not oppose the relief requested in the
paper, and the Court may grant or deny the relief requested without further notice or
hearing.
You should read these papers carefully and discuss them with your attorney if you have
one. If the paper is an objection to your claim in this bankruptcy case, your claim may
be reduced, modified or eliminated if you do not timely file and serve a response.


TO:      Creditors, Debtors and Parties in Interest

         Christine L. Herendeen, the Trustee duly appointed and acting for the above-captioned
estate reports that she intends to sell and abandon the following property of the estate of the
Debtor(s), under the terms and conditions set forth below:
                       PROPERTY OF THE ESTATE BEING SOLD

    1.      Description of Property: Excess equity in 2007 Pontiac Solstice VIN No.
            1G2MG35X67T132541 of $2,512.92; TD Ameritrade stock of $37.90; New
            Elementz of $3,222.21

    2.      Manner of Sale: Private Sale
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   3.        Terms of Sale:
             a. To: Debtor(s)
             b. Sale Price: Total is $5,773.03 to be paid in full on or before November 8,
                 2021.
             c. All right, title, and interest of bankruptcy estate, if any.
             d. Subject to all liens and encumbrances, if any. No warranties of no liens. No
                 warranties of any kind. Subject to Debtor(s) allowed claim of exemption.
        The Trustee will entertain any higher bids for the purchase of the assets of the
Debtor(s) that the Trustee proposes to sell. Such bids must be in writing and accompanied by
a deposit of 100% of the proposed higher purchase price. Any higher bid must be received by
the Trustee at the address listed below no later than the close of business 21 days from the
date of mailing, as indicated in the Certificate of Service. If more than one bid has been
received, an auction will occur among said bidder(s) after 21 days.
        NOTICE IS HEREBY GIVEN that if no objection or request for hearing is filed
and served within twenty-one (21) days of the date of this report and notice, the
property described herein will be sold without further hearing or notice pursuant to
Local Bankruptcy Rule 6004-1.
                   PROPERTY OF THE ESTATE BEING ABANDONED

      PURSUANT TO 11 U.S.C. § 554 OF THE BANKRUPTCY CODE AND
FED.R.BANKR.P. 6007, NOTICE IS HEREBY GIVEN OF THE ABANDONMENT OF
THE FOLLOWING PROPERTY THAT IS BURDENSOME AND HAS NO EQUITY FOR
THE BENEFIT OF THE CHAPTER 7 ESTATE:
        1.       Scheduled real property: 916 Bloomingdale Drive, Davenport, FL 33897
        2.       Scheduled personal property: 2017 GMC Acadia; household goods and
                 furnishings; electronics; signed Disney Art Prints, David Winter cottages;
                 camera, video camera, Inversion table and binoculars; clothes; wedding band
                 and watch; Bank of America savings (2279) and checking (5709)accounts;
                 Partners savings (0000) and checking (0001) accounts

  Dated: September 8, 2021
                                         Respectfully submitted,

                                         /s/ Christine L. Herendeen, Trustee
                                         P.O. Box 152348
                                         Tampa, FL 33684
                                         (813) 438-3833
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 4
                                      UNITED STATES BANKRUPTCY COURT
 5                                       MIDDLE DISTRICT OF FLORIDA
                                               TAMPA DIVISION
 6    IN RE:                                                       CASE NO: 8:21-bk-04001-MGW
       SAMUEL LLOYD SELIG,                                         DECLARATION OF MAILING
 7
                                                                   CERTIFICATE OF SERVICE
 8                                                                 Chapter: 7


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     On 9/8/2021, I did cause a copy of the following documents, described below,
12   Report and Notice of Intention to Sell Property of the Estate and Notice of Abandonment

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     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
21   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
22   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
23   served electronically with the documents described herein per the ECF/PACER system.

24   DATED: 9/8/2021
                                                      /s/ Christine L. Herendeen
25                                                    Christine L. Herendeen

26                                                    Herendeen Law, LLC
                                                      P.O. Box 152348
27                                                    Tampa, FL 33684
                                                      833 438 3833
28
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3
                                       UNITED STATES BANKRUPTCY COURT
4                                         MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION
5
        IN RE:                                                           CASE NO: 8:21-bk-04001-MGW
6
        SAMUEL LLOYD SELIG,                                              CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
7
                                                                         Chapter: 7
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11   On 9/8/2021, a copy of the following documents, described below,

     Report and Notice of Intention to Sell Property of the Estate and Notice of Abandonment
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19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 9/8/2021
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Christine L. Herendeen
                                                                  Herendeen Law, LLC
28                                                                P.O. Box 152348
                                                                  Tampa, FL 33684
                      Case 8:21-bk-04001-MGW
PARTIES DESIGNATED AS "EXCLUDE"                        Doc
                                WERE NOT SERVED VIA USPS    10 CLASS
                                                         FIRST    Filed  09/08/21 Page 5 of 7
                                                                      MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                                                         DEBTOR
1LABEL MATRIX FOR LOCAL NOTICING         AMERICREDIT FINANCIAL SERVICES INC DBA   SAMUEL LLOYD SELIG
113A8                                    GM                                       916 BLOOMINGDALE DRIVE
CASE 8-21-BK-04001-MGW                   PO BOX 183853                            DAVENPORT FL 33897-2429
MIDDLE DISTRICT OF FLORIDA               ARLINGTON TX 76096-3853
TAMPA
WED SEP 8 13-28-31 EDT 2021




ADVANCED COLLECTION BU                   AMERICREDIT FINANCIAL SERVICS DBA GM     AMEX
PO BOX 560063                            FINAN                                    PO BOX 981537
ROCKLEDGE FL 32956-0063                  PO BOX 183853                            EL PASO TX 79998-1537
                                         ARLINGTON TX 76096-3853




BANK OF AMERICA                          BK OF AMER                               CAPITAL ACCOUNTS
PO BOX 982238                            4909 SAVARESE CIRCLE                     PO BOX 140065
EL PASO TX 79998-2238                    TAMPA FL 33634-2413                      NASHVILLE TN 37214-0065




CAPITAL ONE BANK USA N                   CITICARDS CBNA                           CKS PRIME INVESTMENTS
PO BOX 31293                             PO BOX 6217                              PO BOX 2856
SALT LAKE CITY UT 84131-0293             SIOUX FALLS SD 57117-6217                CHESAPEAKE VA 23327-2856




DELL FINANCIAL SERVICES                  DISCOVER BANK                            DISCOVER FIN SVCS LLC
P O BOX 81577                            DISCOVER PRODUCTS INC                    POB 15316
AUSTIN TX 78708-1577                     PO BOX 3025                              WILMINGTON DE 19850-5316
                                         NEW ALBANY OH 43054-3025




DIVERSIFIED ADJUSTMENT                   FED LOAN SERV                            GM FINANCIAL
600 COON RAPIDS BV                       POB 60610                                PO BOX 181145
COON RAPIDS MN 55433-5549                HARRISBURG PA 17106-0610                 ARLINGTON TX 76096-1145




IRS                                      MARGARET ANN SELIG                       MEDICAL BUSINESS BUREA
CENTRALIZED INSOLVENCY OPT               916 BLOOMINGDALE DRIVE                   1460 RENAISSANCE DRIVE
PO BOX 7346                              DAVENPORT FL 33897-2429                  PARK RIDGE IL 60068-1331
PHILADELPHIA PA 19101-7346




NBT BANK NA                              NEW RES SHELLPOINT MTG                   PERSONAL MINI STORAGE
52 S BROAD ST                            55 BEATTIE PLACE                         100 LAKE DAVENPORT BLVD
NORWICH NY 13815-1699                    GREENVILLE SC 29601-2165                 DAVENPORT FL 33897-9400




SEVENTH AVENUE                           SYNCBNETWRK                              WEBBANKDFS
1112 7TH AVE                             CO PO BOX 965036                         PO BOX 81607
MONROE WI 53566-1364                     ORLANDO FL 32896-0001                    AUSTIN TX 78708-1607
                      Case 8:21-bk-04001-MGW
PARTIES DESIGNATED AS "EXCLUDE"                        Doc
                                WERE NOT SERVED VIA USPS    10 CLASS
                                                         FIRST    Filed  09/08/21 Page 6 of 7
                                                                      MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CM/ECF E-SERVICE                         CM/ECF E-SERVICE                         CM/ECF E-SERVICE
UNITED STATES TRUSTEE   TPA713 +         ELAYNE M CONRIQUE +                      CHRISTINE L HERENDEEN +
TIMBERLAKE ANNEX SUITE 1200              PEREZ CONRIQUE LAW                       POST OFFICE BOX 152348
501 E POLK STREET                        746 NORTH MAGNOLIA AVENUE                TAMPA FL 33684-2348
TAMPA FL 33602-3949                      ORLANDO FL 32803-3809




CASE INFO
1NOTE ENTRIES WITH A + AT THE END OF
THE
NAME HAVE AN EMAIL ADDRESS ON FILE IN
CMECF
                      Case
ADDRESSES WHERE AN EMAIL     8:21-bk-04001-MGW
                         IS PRESENT                    Doc E-SERVICE"
                                    WERE SERVED VIA "CM/ECF 10 FiledTHROUGH
                                                                      09/08/21   PageSTATES
                                                                            THE UNITED 7 of 7BANKRUPTCY COURT'S
NOTICE OF ELECTRONIC FILING ("NEF")SYSTEM.

(U.S. Trustee)                          (Debtor)                               (Trustee)
United States Trustee - TPA7/13         Samuel Lloyd Selig                     Christine L Herendeen
Timberlake Annex, Suite 1200            916 Bloomingdale Drive                 Post Office Box 152348
501 E Polk Street                       Davenport, FL 33897                    Tampa, FL 33684
Tampa, FL 33602                         represented by:
                                        Elayne M Conrique                      clherendeen@herendeenlaw.com
USTPRegion21.TP.ECF@USDOJ.GOV           Perez Conrique Law
                                        746 North Magnolia Avenue
                                        Orlando, FL 32803

                                        bankruptcyecf@eperezlaw.com




(Creditor)
Americredit Financial Services, Inc.
Dba GM Financial
P.O Box 183853
Arlington, TX 76096

CSBK@GMFINANCIAL.COM
